         Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 1 of 48 Page ID #:1


    F.
s
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                                                                                        JUL - 5 2019
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                                 UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA -WESTERN DIVISION


               SINA KIANPOUR               ~ A C~V 1 ~~~~ 121y,~~- }~'S~
                              Plaintiff,           )          COMPLAINT FOR:
                                                              1. Fraud (Deceit, Concealment,
                       vs.                         )                     Intentional Misrepresentation)
                                                              2. Promissory Fraud
               WELLS FARGO BANK,N.A., )                       3. Document Forgery
               WELLS FARGO &COMPANY,)                         4. Accounting Fraud
                                                              5. Aiding and Abetting Fraud
                              Defendants           )          6. Negligent Retention and Supervision
                                                              7. Perjury


                                                              DEMAND FOR JURY TRAIL
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           Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;        1
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 2 of 48 Page ID #:2




                                        TABLE OF CONTENTS
                                                                                                              Page
I.      PARTIES ................................................................................................... 3
II.     JURISDICTION AND VENUE ................................................................ 3
III.    FACTUAL ALLEGATIONS .................................................................... 4
           A.   The Incident ................................................................................ 4
          B. Troubles began in Feb. 2016 ....................................................... 5
          C. Credit Card Account Problems ................................................... 6
          D. Deposit Accounts Problems ........................................................ 8
          E. Exchanges with Wells Fargo's Chairman and CEO ................... 9
          F.    Related case: Basic facts ........................................................... 12
          G. Related case: Submission to Supreme Court ............................ 13
          H. Plaintiffs Personal Account Profile .......................................... 14
          I.    Wells Fargo Begins Bad Decision-Making .............................. 16
          J.    Request for Judicial Notice ....................................................... 17
                    1- Wells Fargo pays about $440 million for fraud,
                      forgery to settle class action lawsuit.
                    2- FEDERAL RESERVE Condemns Wells Fargo,
                    3- TREASURY DEPT. and
                        OCC (Office ofthe Comptroller ofthe Currency)
                        condemn Well Fargo with $1.5 Billion fine,
                   4- Other forgery and fraud cases against Wells Fargo.
V.      CAUSES OF ACTION
            Count 1 -Fraud
                     (Deceit, Concealment, Intentional Misrepresentation) ... 18
            Count 2 -Promissory Fraud ............................................................. 21
            Count 3 -Document Forgery ........................................................... 22
                     a. Forged "Notice Of Nonpayment" .............................. 22
                     b. Bogus "Credit Card Contract" ................................... 24
           Count 4 -Accounting Fraud ............................................................. 24
           Count 5 -Aiding and Abetting Fraud .............................................. 25
           Count 6 -Negligent Retention and Supervision .............................. 26
           Count7 -Perjury .............................................................................. 28
           Claims Common To All Causes Of Action ..................................... 29
PRAYER FOR RELIEF ................................................................................... 30
DEMAND FOR JURY TRAIL ........................................................................ 30




  Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;                            2
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 3 of 48 Page ID #:3




                                      I. PARTIES
 1.      Plaintiff Sina Kianpour is an individual, citizen of California, USA.
 2.      Defendants, Wells Fargo Bank N.A. and Wells Fargo & Company
  (collectively "WF" or "Wells Fargo") control, among others, a retail banking
      and credit card networks with their principal place of business in California,
      USA. Both Wells Faxgo Bank N.A. and Wells Fargo &Company are head
      quartered in South Dakota.
3.      Whenever reference is made in this complaint to any act of Defendants such
      allegation shall mean that each defendant acted individually and jointly with the
      other defendant.
4.      Reservation to Name Additional Defendants:
        In addition to the entities set forth as Defendants herein, there are other parties
      who may well be liable to Plaintiff. By not naming such persons at this time
  Plaintiff is not waiving his right to amend this pleading to add such parties
  should the circumstances warrant the additions.
                             II.   JURISDICTION and VENUE
5. Federal court has jurisdiction over this action pursuant to 28 U.S.C. §1332 as
  the matter in controversy exceeds the sum or value of $75,000, exclusive of
  interest and costs, and it is between citizens of different states. Both sides have
  conducted their business in Los Angeles county, California, and the damages
  alleged herein occurred in this county with repercussions which span well
  beyond a specific geographic location.
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      Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   3
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 4 of 48 Page ID #:4




                              III.   FACTUAL ALLEGATIONS
 6.      This case is based on discovered evidence, facts and documents between Sept.
      2017 and Apr. 2018, related to case number 2:17-cv-01757 SJO (GJSx). This
      case is at the Supreme Court of the United States at this time. Plaintiff shall seek
      the Court's permission to adjust this complaint depending on the outcome of the
      Supreme Court's decisions.
 7.     Each and every allegation, quote and/or statement in this complaint is
      supported by written material and evidence. Plaintiff shall specifically point out
      if there is any statement without written material or evidence support.
                                        A. The Incident
 8.  On 01/15/2016 Plaintiff deposited a $600 personal check ("$600 check")
   from my brother in my personal checking account and it bounced. WF initially
   claimed 1 that the check had bounced on 01/21/2016 but discovery documents
   show that the actual bounce date was the next day (01/16/2016)2.
 9.  During the following two weeks WF re-deposits the $600 check in my
   account two (2) more times without my knowledge or pernussion -- violation of
   CCC §4202(a)(1) 3 and that is the cause of the incident and subsequent actions.
   Additional re-deposit dates were 01/21/2016 and 01/27/2016, according to WF.
 10. In the meantime my brother's bank (Wilshire Bank) contacts him on
   01/26/2016 and he deposits a $650 check ("$650 check")in my account to cover
  for the bounced check plus bank charges -again, without my knowledge 4. Copy
  of the $650 check shows that I did not endorse or deposit this check.
 11. The $650 check dated 01/26/2016 cleared on 01/27/2016 without problem
   according to the evidence which WF provided in Discovery (see 9[ 13).

'WF letter of 03/25/2016.
2 Discovery in Sept. /Oct. 2017.
3 CCC §4202: "(a) A collecting bank shall exercise ordinary care in all of the following:
 (1)Presenting an item or sending it for presentment."
4 At that stage the $600 check had bounced two times.



      Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   4
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 5 of 48 Page ID #:5




 12. WF resubmits the $600 check for the third time on 01/27/2016 by phone. This
      is while WF knew that on the same date the $650 check had cleared from the
      same person, same bank, same account and there was no other check transaction
      under my account to cause a confusion. WF's Discovery documents including
      internal memos about their phone call with Wilshire bank show that they knew
      that those checks were related and there was no problem associated with the
  $650 check clearance.
 13. Furthermore, Wells Fargo confirms that they use the Federal Reserve's
      Automatic Clearing House("ACH")for their check clearing services. The ACH
  has anext-day clearing rule. Wells Fargo had received the ACH confirmation for
  the $650 check on 01/27/2016.
14. I learned about the unexpected events --between 01/15/2016 and 01/27/2016
  and chaos which WF had started-- during the shocking phone call of 01/29/2016
  with two Wells Fargo employees (Andria Solis and Cynthia Mccray) 5. They
  announced that they had closed my accounts (checking, savings, credit card) and
  that is the "end [of] the relationship". WF employees also announced that no
  transaction /deposit is allowed in any of my accounts.
15. In early Feb. 2016, I received a letter from WF dated 01/27/2016 confirnung
  all accounts' closure ("scheduled for 02/10/2016") due to $600 bounced check
  case(Ex. A,P. 2).
                              B.    Troubles began in Feb.2016
16. Accounts' closure has never been a reason for objection, complaint or cause
  of action - WF was free to close the account at any time. WF's furnishing
  defamatory and false reports to the public together with lies, cover-ups,
  oppressive, reckless, malicious behavior were the main causes for action --they
  have had devastating impact on Plaintiff's life, business and livelihood.
///

5 WF provided a copy of call recordings in Discovery, Sept. /Oct. 2017.



      Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   5
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 6 of 48 Page ID #:6




     Troubles started to accumulate on top of each other -- separate sets of
   problems related to credit card and deposit accounts.
                         C.    Credit Card Account Problems
 17. During phone call of 01/29/2016 I tried to find out about the situation of my
  credit card debt and how I should pay for it after the "end [of] the relationship",
     Solis's response was: "do nothing, your account is going to close in 10
  business days.".
      Mccray's response was: "you will not be able to make any deposit to your
  accounts." 6.
18. To avoid delay in credit card payment I contacted WF the same day again by
  email. Payment instructions came back soon but it was not working --Reason:
  my online access to initiate a transaction was blocked.
19. The third attempt to pay for credit card was on 02/01/2016 by email. WF's
  Customer Service (Michele L)response reads:
             "I reviewed your account and our records show that a hold was
              placed on the account to block all transactions."
20. Whenever I called WF the answer was that I had to wait until account closure
  process was complete as "scheduled for 02/10/2016".
     It was an abnormal situation: On one hand WF was asking me to pay for
  credit card statement by email
                               ' and on the other hand they were not accepting
  any payment and the other problem was that the credit card account did not even
  exit anymore.
21. Attempt #4 to pay for credit card was on 02/08/2016. I contacted WF by email
  again, pointed to the above problems and complained:
             "... Could someone at WF tell me what is going on? I am totally
             confused."

6 Phone call with WF's Mccray, Minute 09:00 to 09:11.
  Payment due date was the first of each month (Paperless).



  Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   6
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 7 of 48 Page ID #:7




     The answer triggered another shock and alarm.
     Lucia D., Wells Fargo Online Customer Service email response reads:
                 "Our records show that our Fraud Prevention department has
                 suspected fraudulent activity on your credit card account and
                 would like to speak with you."(Ex. B,P. 2)
     This is while WF's own credit card statements clearly show that I had not
  used my card for months (Ex. C, P. 2 and 3). So where did the "fraudulent
  transactions" come from when and where there was no transaction at all [!?],
     All my follow-up phone calls remained unanswered and ignored. To this date
  --as I write these lines-- I have not found any WF employee who could show me
  those "records" of"fraudulent transactions" or any transaction at all.
22. On Feb. 19, 2016 WF repeats its credit card fraud accusations again -this time
  in a letter:
                 "As part of our Fraud Prevention efforts, we have temporarily closed
                 the above referenced credit card account until we verify you
                 authorized certain activity on your account. ... Credit card fraud is
                 a serious issue."
     I started calling again. No one provided any answer, stonewalling continued.
     Later I learned that reckless behavior and exercising oppression of this kind
 (and "gaming" plus "negative public reports") to keep the customers quiet has
  been a major part of WF's modus operandi which have been going on for two
  decades g (see 9[ 51).
23. As of Feb. 2016 (credit card statement period), WF began furnishing reports
  to Credit Reporting Agencies ("CRAs")regarding my nonpayment, delinquency
  and later continued with propagating "derogatory" comments.


8 - As confirmed by Federal Reserve, Treasury Dept. and OCC(Ex. D,P. 8-10).
  - Jabbari and Heffelfinger v. Wells Fargo copies of forgeries and bogus contracts.




  Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   7
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 8 of 48 Page ID #:8




 24. A different surprise came from WF in early March 2016 when I received a
  "new" credit card with invitation to activate it soonest i.e. restart of relationship.
        They had reopened the credit card account. Like the first credit card the "new"
      card came without my request or application [verbal or written] and there was no
      contract attached to it (originals available).
        I rejected their offer.
25. After I rejected the new card, I received WF's letter of 03/22/2016 stating that
      they closed the credit card account.
26. WF continued to charge interest on the closed account up to Aug. 2016 when
  total debt reached the limit of credit line then "charged-off' the total amount i.e.
  additional negative signals to CRAB and the public pointing to collection
  procedure, possible bankruptcy, etc.
27. I reported the above event plus deposit accounts' problems to WF's CEO
  asking for his intervention --included in below "Exchanges with Wells Fargo's
  Chairman and CEO".
                              D.     Deposit Accounts Problems
28. On 02/11/2016 WF closed the deposit accounts and started furnishing two
  separate defamatory, incomplete and false reports to the public about Plaintiff
 (for checking and savings accounts)9.
         WF's Katherine Abney (Research/Remediation Analyst) letter of 05/02/2016
  confirms the negative content of the furnished reports as follows:
                 "... the bank may continue to report mishandled accounts and adverse
                 information to EWS (Early Warning Services)." to
29. Earlier, in their letter of 03/25/2016 WF had stated that:
///

9 I received two checks from WF after accounts closure (i) positive checking account
   balance after clearance of $650 check (ii) the savings account balance.
10 EWS is a CRA which performs under FCRA rules but deals with deposit accounts only
 (no credit card) --- WF is a major shareholder of EWS.



      Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   8
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 9 of 48 Page ID #:9




                  "When we have reason to believe that activity is taking place that
                  poses a potential risk to the funds of our customers it is our policy to
                  close that account and any related accounts."
         When I ask WF's Abney to be specific about the "activity" "reference there
      is no answer. I continue to ask for explanation again in my letter of 05/12/2016:
                 "Ms. Abney, ... I insist on receiving the exact and specific reasons
                  about account closure -that is based on my legal rights. Write down
                  what do you mean by `reason to believe that activity is taking place
                  that poses a potential risk to our customers' ... which activities are
                  you talking about and what are those reasons for your belief? Be
                  specific.".
        WF did not answer. Stonewalling continued. The adverse public reports about
Plaintiff were running with mounting effects so I decided to ask for intervention
from their management.
                E. Exchanges with Wells Fargo's Chairman and CEO
30. Between Feb. and Aug. 2016 I tried to settle this case out of court, arrange for
  credit card balance payment, have WF to stop the adverse public reports to
  CRAs / EWS and move on --in vain.
31. WF had perfect knowledge that I was running a sole proprietorship (DBA)
  and those "adverse" reports would cause harm at personal and business level -
  my personal credit reports would be used for business purposes too 12.
32. I exchanged eight letters with WF --three of them were addressed to then
  Chairman and CEO (John G. Stumpf asking for his intervention: 06/27/2016,
  08/02/2016 and 08/29/2016.
///
///


"My letter of April 12, 2016.
12 Business registration documents had been provided to various WF departments in 2012.


      Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   9
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 10 of 48 Page ID #:10




 33. I received astonishing responses --in fact, lies and cover-ups --mainly through
   Gregory Hopkin (Dept. Manager of Research and Correspondence). Here is a
   summary of WF's letter of 07/14/2016:
      a.     As to my request about the reasons for negative public reports they
             denied the existence of such reports,
                     "Additionally, there were no negative external reports made by
                      Wells Fargo related to the closure of your deposit accounts."
            EWS response to subpoena shows:
           (i) there are external reports indeed,
           (ii) both my checking and savings accounts have been reported as
               "Closed for Cause" as of 02/11/2016. The word "Cause" covers
                many scenarios --EWS provides examples of check-related activities
                which could be the "Cause" for account closure on their website:
               "check kiting, embezzlement and check floating".
      b.    I had requested proper instructions for credit card balance payment and
            account settlement which reads:
                     "All above accounts remain closed .since Jan. 29, 2016 --access
                      to online accounts have been both restricted and useless-- yet
                      your employees are asking for payment without any hint where
                     the payment should go to."
            WF's response pointed to the same old standard payment instructions.on
            the credit card statements i.e. the same account which was blocked,
            where deposits /transactions were not allowed and the account did not
            even exist.
     c.     Hopkin also presents another lie too:
                     "... we have deleted any internal negative reporting associated
                     with this incident.".




   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   10
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 11 of 48 Page ID #:11




             In Discovery, EWS's response to subpoena clearly shows that it is a lie
             too -- based on rules of their operation which appears in the report
             guide: If/When a member bank deletes their internal information about
             an account (shared system updates the information and)EWS shows the
             keyword "Purge" next to that account --Example: "Closed /Purged" 13
             In this case, while EWS response to subpoena shows there were cases
             which WF had deleted my old accounts with "Closed /Purged" remark,
             the records related to deposit accounts in this case are not among them.
             Both accounts show "Closed for Cause" without keyword "Purge".
 34. After the start of lawsuit WF began with lies to the court about EWS reports
   claiming that EWS system is designed for bank employees only and not
   individual consumers.
      On March 09, 2017, page 4 of motion to dismiss ("MTD") the complaint, in
   footnote, Wells Fargo says:
                      Early Warning Services "is a third party that provides fraud
                      prevention services to member financial institutions by
                      maintaining a database of members' former employees who
                      were terminated for knowingly causing or attempting to cause
                     financial loss".
     Presentation of EWS report to the court ended this part of the deception,
   cover-ups and attempts to mislead the court.
 35. Wells Fargo's management and employees' behavior have been a huge
   manifestation of the dominant culture of corruption, fraud, oppression, reckless
   behavior and indeed "pervasive and persistent misconduct" as Federal Reserve
  referred to them collectively(Ex. D,P. 8-9).
     ///


 13 EWS guide: The "Close /Purge" means there was no problem (or "Cause" for concern)
    with closure of the account and the bank has deleted their internal records.


   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   11
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 12 of 48 Page ID #:12




                              F.    Related case: Basic facts
 36. The Third Amended Complaint("TAC") was based on two claims:
       i.     Negligence: treatment of $600 check, §4202(a)(2) 14 and §4202(b)'s
       ii.    Cal. Consumer Credit Reporting Agencies Act("CCCRAA")- §1785.25
             (subparts `a', `b', `c') i.e. WF is prohibited to furnish reports when they
             knew or should have known that they are inaccurate or incomplete. Plus
             they had the obligation to stop the EWS reports after I started the dispute
             and they knew that the reports were incomplete (at least).
 37. WF admits that they have furnished negative reports about the plaintiff to the
   public (see 9[y[ 28-29).
 38. WF admits that Plaintiff started a Direct Dispute (§660.4) case in early 2016.
 39. WF never issued a notice of "Frivolous or irrelevant disputes"(§660.40). So
   they had the obligation, among others, to perform "Reasonable Investigation"
   about different aspects of the case (i.e. subparts of §660.4(a)).
 40. WF admits, and the court confirms, that they have furnished incomplete
   information to EWS about deposit accounts(§1785.25(a),(b),(c)) 16
 ///

 14 CCC §4202:(a) A collecting bank shall exercise ordinary care in all of the following: ...
  (2) Sending notice of dishonor or nonpayment or returning an item other than a
    documentary draft to the bank's transferor after learning that the item has not been
    paid or accepted, as the case may be.

 15 CCC §4202(b): A collecting bank exercises ordinary care under subdivision (a) by
    taking proper action before its midnight deadline following receipt of an item, notice,
    or settlement. Taking proper action within a reasonably longer time may constitute the
    exercise of ordinary care, but the bank has the burden of establishing timeliness.

 16 Court Order of 07/17/2017, P.15, line 11 in second 9[(Related case ECF#50):
   "Moreover, Wells Fargo's submission that an omission cannot form a basis for liability
    under the FCRA is against the weight of controlling precedent."
    Court Quotes: -Gorman,584 F.3d at 1163
                  - Koropoulos v. Credit Bureau, Inc., 734 F.2d 37, 40(D.C. Cir.1984)




   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   12
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 13 of 48 Page ID #:13




 41. The court agreed with elements of bad faith in WF's treatment of the checks,
       case 17.
 42. The court agreed that WF failed to perform "Reasonable Investigation"
       despite five sepaxate claims of reviews 18:
              "The Courts finds that Plaintiff has pled sufficient factual allegations to
                  sustain his CCCRAA claim on the theory that Wells Fargo failed to
                  conduct a reasonable investigation into the accuracy and completeness of
                  the negative information it furnished to CRAB in light of the allegations
              concerning the circumstances surrounding the closure of his accounts
              and Wells Fargo's preventing him from making payment to his credit
              card account. For these reasons, the Court DENIES Wells Fargo's motion
              to dismiss Plaintiffs CCCRAA claim."
                       G.    Related case: Submission to Supreme Court
 43. There are seven issues which the plaintiff has submitted to the Supreme
   Court. One of them directly relate to this case which have been included here
   under the "document forgery".
         Upon receiving the Court's order Plaintiff shall submit more information
   about other issues or a copy of "Petition For Writ Of Certiorari".
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"Order of 05/30/2017, P.11,"Bad Faith"(Related case ECF#36).
'g Order of 07/17/2017 P.16, line 16(Related case ECF#50).


   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   13
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 14 of 48 Page ID #:14




                        H.    Plaintiffs Personal Account Profile
 44. All WF accounts combined:
       • Checking and savings accounts Start: 04/2010,
       • WF's first credit card offer: 01/2014(accepted) 19,
       • All accounts' closure: letter of 01/27/2016 20,
       • WF's second credit card offer: 03/2016 (rejected),
       • Average cash flow of all accounts combined
          (checking +savings +credit card): Less than $500 per month,
       • Average check deposits per month: Zero,
       • Average issued check per month: Zero.
 45. It is not a surprise that Wells Fargo's attack on a microscopic account like this
   could have such a huge and devastating impact on the plaintiff's life. Plaintiff is
   an independent IT professional (contractor, consultant, programmer) with
   bachelors degree in banking.
      My personal and business credit ratings, credibility, creditworthiness etc. are
   the same (see y[ 31).
      According to 15 U.S.C. §1681b(a)(3) (Permissible Purposes of Consumer
   Reports), a simple claim that an entity "intends" to do business with an
   individual serves as a legal authorization to access the person's credit and
   financial reports - no pernussion or notification is required. This is a basic tool
   in professional circles.
     Since Feb. 2016 I have been living under a cloud of suspicion (among
  financial, human resources and background-checkers' communities) because of
  the above §1681b(a)(3) as there is red flag next to my name which equates to
  "has financial criminal record, not trustworthy".


 19 plaintiff is responsible for this account's balance up to 01/29/2016(about $1100).
 20 WF claims credit card account was closed on 03/22/2016 i.e. after I rejected their new
  (second) card offer in early March 2016.



   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   14
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 15 of 48 Page ID #:15




 46. Wells Fargo is the only entity who has ever furnished adverse report about
   Plaintiff to CRAs and/or EWS.
      On one hand CRAB show that Plaintiff has not paid for his credit card --sends
   a signal for delinquency, "derogatory" account status, charge-off, collection
   procedure, bankruptcy-- and next to it EWS reports show there are "Cause"s for
   concern because Plaintiff has done "something wrong" with his checking and
   savings accounts -- the public don't see what is the amount or details of the case
   --and there is not even a "notation of dispute"(§1785.25(c)).
 47. As direct result of WF adverse reports Plaintiff's credit score crashed (more
   than 200 points), credit lines cut by 60%, multiple pre-approved credit lines (up
   to $100,000) denied, new credit cards were denied, interest rates (APR)jumped
   between 300 to 600 percent, contracts did not finalize or withdrawn at final
   stages, potential investors /employers disappeared, Plaintiff was forced to close
   his business and that is not the end. EWS and CRAB keep and sell these
   information online up to 10 years (i.e. 2026-27).
      All these material parts of damages are documented.
 48. To justify their attack, WF tried to insinuate that around eighteen (18) months
   before the $600 check (deposit 01/15/2016) there was another $400 bounced
   check in my account in June 2014 21.
 49. WF refuse to answer whether propagating negative reports to the public is
  their normal treatment in such cases, is it a general policy, where are their
  guidelines and/or how many accounts have been affected using the same criteria.
     As "Jabbari and Heffelfinger v. Wells Fargo" overall case show, and Federal
  Reserve and Treasury Dept. allude to in their condemnation communiques, the
  reality is that Wells Fargo needed to target some accounts --small sacrifices to
  show the regulators that WF's people are vigilant combating "mishandled


'
Z WF says there were total four (4) bounced checks in my account between account
  opening in 2010 and June 2014(amounts between $400 to $700).


   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   15
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 16 of 48 Page ID #:16




   accounts"-- while they were in fact busy ripping off millions of their own
   customers (see 9151, Requestforjudicial notice).
                    I.    Wells Fargo Begins Bad Decision-Making
 50. WF provides a part of the pretext for their bad decision-making in Sept. /Oct.
   2017 (Discovery). This is happening parallel to unauthorized, back-to-back
   resubmission of the $600 check (y[9[ 8-11):
      a.   On 01/27/2016 WF receives two reports about the $650 check (deposited
            01/26/2016). First, the Federal Reserve Automatic Clearing House
           ("ACH") confirms that the check had been cleared without problem 22.
           Second report comes from EWS saying that the $650 check had bounced.
           WF admits the former as part of Discovery (email) exchanges and
           provides the latter document as part of the Plaintiff's Request for
           Production.
      b.   WF finds out that EWS report is wrong the same day. In addition to
           Federal Reserve's ACH confirmation, WF's Angela Barkley internal
           memos show that she had a separate phone confirmation from payor bank
           that the $650 had been cleared. Therefore, WF's ledger and final account
           statement show the correct entry for $650 check credit on 01/27/2016
           without problem.
      Although WF knew perfectly well from day one that EWS report was a
   mistake they started their negative public reports on 02/11/2016 and continued
   them despite ongoing disputes and after multiple claims of "investigations" and
  "reviews" in bad faith.
     ///
     ///
     ///

 22 Wells Fargo confirms that they use Federal Reserve's ACH
                                                             system for their check
    clearing operation.



   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   16
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 17 of 48 Page ID #:17




                             J.    Request for Judicial Notice
 51. Wells Fargo has a long history of fraud, forgery, oppression, customer rip-off,
   misconduct plus misuse and abuse of their legal privileges.
      These are the conclusions of the following cases, opinions of the monetary
   and government authorities:
      i.    CONSOLIDATED CLASS ACTION
            Jabbari and Heffelfinger v. Wells Fargo &Company and Wells Fargo
            Bank N.A. --- 3:15-cv-02159-VC -- N.D. Cal.
                 Exhibit D (P. 2-7) contains only six pages of this class action to
             demonstrate one of Wells Fargo's basic methods of forgery and rip-off of
             millions of retail customers (starting as low as $4 per month each).
                 In 2017 WF agreed to pay about $440 million to settle this case 23.
      ii.   FEDERAL RESERVE CONDEMNATION
                 Exhibit D (P. 8-9), Feb. 2018: Sanctions and contempt statement
            against Wells Fargo for "pervasive and persistent misconduct" and
            "serious compliance breakdown" -result of the above case and more.
      iii. TREASURY DEPT. CONDEMNATION
            OFFICE OF THE COMPTROLLER OF THE CURRENCY("OCC"1
                 Exhibit D (P. 10), Apr. 2018: the OCC fined Wells Fargo more than
            $1.5 Billion for violations of law, financial harm to consumers, the
            bank's failure to correct the deficiencies ... that constituted reckless,
            unsafe, or unsound practices which resulted in violations of Section 5
            of the FTC's unfair practices.
     iv. At this time there are different (yet similar in nature) lawsuits running
            against Wells Fargo for overcharging customers and fraud in various
            types of car payments, mortgages, insurance and so on.
     It is the same corrupt culture and people who harmed the plaintiff.


 23 Plaintiff was approached to participate in two similar lawsuits but turned them down.



   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   17
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 18 of 48 Page ID #:18




                                V.     CAUSES OF ACTION
                                       Count 1 -Fraud
      DECEIT,CONCEALMENT,INTENTIONAL MISREPRESENTATION
 52. Plaintiff realleges and incorporates by reference each and every allegation
   contained in forgoing as though fully set forth herein.
 53. Wells Fargo admits that they have furnished negative information about
   Plaintiff's deposit accounts to EWS and to the public. Defendants have the
   responsibility to demonstrate that plaintiff committed an illegal act (in each
   account) which deserves the adverse public reports according to law. Wells
   Fargo also owes a duty to Plaintiff to provide their guidelines about such cases
   and demonstrate that all similar cases have been treated the same way.
 54. Defendants concealed the information about unauthorized treatment of the
  $600 check. This includes blocked Notices of nonpayment for second and third
   submissions.
 55. Defendants made false statements about the $600 check first and second
   bounce dates in their letters of 03/25/2016 (about two months after the incident)
   according to §4202(a)(2).
 56. When Federal Reserve ACH confirms the clearance of an item it is (and must
   be considered as) proof of payment and based on discovery evidence Defendants
  had this confirmation on 01/27/2016 for the $650 check.
     All Defendants' statements, direct or implied, about rejection or nonpayment
  of the $650 check were intentional misrepresentation. Defendants intended to
  deceive the plaintiff and deliberately misrepresent to the court (in related case)
  to imply that Wells Fargo was dealing with more than one bounced check and/or
  Plaintiff was involved in illegal or suspicious "activity".
57. On 01/29/2016 --recorded phone call-- Wells Fargo knew that the $650 check
  had been cleared on 01/27/2016 nevertheless WF's Mccray lied to plaintiff,
  denied the clearance of that check, insisted that the check had bounced, and



  Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   18
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 19 of 48 Page ID #:19




   exercised pressure on the Plaintiff to pay for it again. That was an intentional
   misrepresentation and deception.
 58. In Feb. 2016, when the defendants started the negative EWS reports for the
   first time, they did not notify the plaintiff -violations of §1681s-2(a)(7)(A),(B)
   i.e. Notice to Consumer Required. Defendants blocked that notice to conceal the
   information and harm the plaintiff with negative reports.
 59. Defendants' accusations of credit card fraud were wrong and false.
   Defendants knew that Plaintiff had not used his credit card for months.
 60. Defendants' claim that they have the "records" of Plaintiff's credit card
   fraudulent activity was false.
 61. Defendants' claim that they were searching to verify that Plaintiff "authorized
   certain activity on [his] account" was false.
 62. Defendants' CEO's office statement denying the existence of external reports
   about deposit accounts was false.
 63. Defendants CEO's office false statement about existence of "external reports"
   was intentional misrepresentation to conceal the information about violations of
   law, and deceive the plaintiff not to follow his case.
 64. Defendants' CEO's office statement about deletion of their internal records
   was false.
 65. At all times, the only instructions that Wells Fargo provided to plaintiff for
  credit card balance payment pointed to the account that they had confirmed (i)
   was blocked (ii) deposits and transactions were not allowed (iii) and it was
  closed. Plaintiff wrote these problems to Defendants and their CEO together
   with offer of payment several times. These are in addition to Plaintiff's verbal
  requests during the (recorded) phone calls of 01/29/2016 and numerous
  follow-up calls in Feb. and March 2016.
     Defendants intentionally misrepresented this issue to all parties claiming that
  Plaintiff refused to pay.



   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   19
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 20 of 48 Page ID #:20




 66. Wells Fargo's Abney's statements and accusations that the plaintiff had
   certain "activity" under his account and "mishandled" his account are false.
 67. Wells Fargo's Hopkin statement and accusation that the plaintiff had "activity
      ofthis type" under his account was false and misrepresentation.
 68. Wells Fargo's written statements (both Abney and Hopkin) that the $600
   bounced check posed a "risk" to their (organization and/or) other customers'
      funds was false and misrepresentation.
 69. Defendants' statement that Plaintiff applied for a credit card verbally (in Jan.
   2016) is false. Defendants offered the card, I accepted it and there was no
      contract.
 70. Wells Fargo made five claims of "reviews" and/or "investigations" about this
      case. Their claims were false and intended to deceive the plaintiff.
 71. In Defendants' letter of May 2016, all the following direct and indirect claims
      and statements about the credit card are false:
        i.    Wells Fargo "records do not show we have rejected any attempts by
              [Plaintiff] to pay the required monthly payments."; and,
        ii.   WF's perception that Plaintiffs account was still active; and,
        iii. "We reviewed the information reported to the credit bureaus and confirm
              that Wells Fargo is accurately reporting this account".
 72. Wells Fargo lied and misrepresented to the court (in related case): Despite the
  fact that Defendants are major shareholders (and board member) of EWS and
  have complete knowledge about their activities they misrepresented the
  functions and mission of EWS to mislead the plaintiff and the court to support
  their MTD the complaint (y[ 34).
 WHEREFORE,Plaintiff prays for relief as set forth below.
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   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   20
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 21 of 48 Page ID #:21




                                Count 2 -Promissory Fraud
  73. Plaintiff realleges and incorporates by reference each and every allegation
       contained in forgoing as though fully set forth herein.
 74. On Jan. 29, 2016 --recorded phone call, Minute 05:37 to 05:59-- WF's
       Mccray emphasized that:
                "There will not be any type of negative reporting to any other financial
                institution. This will just be in Wells Fargo."
        EWS reports and response to subpoena demonstrate the falsity of this promise.
        Series of related events and statements point to malice, intentional
        misrepresentation and account targeting scam in this case from day one.
 75. Wells Fargo made .promises and created expectations which never
       materialized and they never intended to deliver. Based on the nature of Direct
   Dispute, events, exchanges and circumstances of the case, Plaintiff justifiably
   had to deal with (and rely on) the promises, assertions and representations made
   by Wells Fargo simply because CRAB / EWS did not and do not have the
   necessary information to comment on different aspects of the case.
 76. Wells Fargo made several promises and claims of investigations and reviews -
   both through their employees as well as the office of their CEO. The results
   indicate that all those claims and promises were false. Some of Defendants'
   assertions demonstrate that they had not even read their own previous
   communications.
 77. In their May 2016 letter Defendants promised to "instruct all CRAB" and
   make sure credit card information were reported correctly across the board but
   CRA reports show inaccuracies and wrong information in Sept./Oct. 2017.
 WHEREFORE,Plaintiff prays for relief as set forth below.
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 ///
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   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   21
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 22 of 48 Page ID #:22




                               Count 3 -Document Fofiery
 78. Plaintiff realleges and incorporates by reference each and every allegation
   contained in forgoing as though fully set forth herein.
 79. During discovery --shortly before filing the motion for summary judgment
  ("MSJ") -- WF forged two new documents for itself. Both came with multiple
   self-serving "declarations":
      a.    First document was a replacement for the "notice of nonpayment".
      b.    Second document was WF's bogus credit card contract without my
            application andlor signature.
      Explanations as follows:
                    a.    FORGED "NOTICE OF NONPAYMENT"
 80. For more than seven (7) months in the process WF relied on their letter of
   01/27/2016 and referred to it as both "account closure notice" and as their
  "notice of nonpayment" in treatment of the $600 check (Ex. A, P. 2). WF even
   filed MTD the complaint based on this "notice of nonpayment".
 81. On 05/30/2017 the court denied Defendants' MTD the negligence claim
   reiterating its emphasis on the date of that notice (related case ECF#36,P. 9, last
   line):
             "(FAC y[ 35, Ex. D [January 27, 2016 24 letter from Wells Fargo's
             Prevention Contact Center].) This approximately week-long window is
             sufficient to sustain a claim under section 4202(a)(2)."
               (Id.)Page 12 ofthe court order reads:
            "The Court concludes that Plaintiffs negligence claim is well pled, and
             DENIES Wells Fargo's request that the Court dismiss the negligence
             claim."
      At this stage it was clear that WF had failed to perform their "duty of ordinary
   care".

 z4 Typing mistake in court's order reads "2017".



   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   22
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 23 of 48 Page ID #:23




 82. About five months later --during discovery-- shortly before using it for their
      MSJ, WF presented a replacement, a surprise "new notice of nonpayment" dated
  "01/21/2016" --WF covered the exact "week-long window"(Ex. A, P. 3). It
      has a totally different shape,form,layout, wording etc.
 83. Plaintiff filed his objections in multiple submissions:
                  "The [new] notice for $600 check appeared seven months after the
                  start of this action and is not credible in Plaintiff's view [because of
                  the above circumstances and unjustifiable delay]."
 84. When we ask Wells Fargo about the reason for months of delay their response
  (in Answer Briefl reads: "the [newt notice was not responsive" at any stage, to
      any situation or specific District court's comment or opinion.
 85. When a reasonable jury looks at the above court's statement and overall
   exchanges about the "notice of nonpayment" which was the centerpiece of the
   dispute from day one they would agree that:
        i.    All of them beg and shout for proper reaction which is, presentment of
              timely notice - if there was any; and
        ii.   To accept WF's forgery a reasonable jury must further believe that an
              army of 5 to 7lawyers plus back-office support of Wells Fargo engage in
              a lawsuit and exchanges for months about that document dated
              01/27/2016 ... submit MTD the negligence claim based on that document
              and it occurs to none of them that they must include the unique and the
              most important evidence of their case (dated 01/21/2016) in their motion
              to yet rid of the ne~~ence claim ...and that situation continues for
              another five months until a few weeks before MSJ [!?].
        iii. A theory that all Wells Fargo lawyers and staff could not distinguish Ex.
              A, P.2 from Ex. A, P.3 is futile. Notice of nonpayment dated 01/21/2016
              is a forgery.
///



   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   23
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 24 of 48 Page ID #:24




                       b.   BOGUS "CREDIT CARD CONTRACT"
 86. Defendants presented a bogus credit card contract without my application
      and/or signature just before their MSJ. As stated in above "factual allegations"
      Plaintiff has never applied for a Wells Fargo credit card, both cards came as an
      offer without any contract or conditions attached to it (second card's original
      documents are available).
 87. When I objected to the written contract (by email) Wells Fargo changed their
      story: WF's VP issued a new self-serving declaration that the contract was
  "verbal" -that is, without personal knowledge that such an account even existed
      before that action; As I submitted to the court "Kotzman's statement is a lie ...".
 88. In practice, she declared that the written contract was valid because the teller
      read about 7 pages of (small font, highly condensed) written material patiently
      and received my verbal confirmation on all points -- including that WF is
      allowed to charge interest after CBG (account Closed By Grantor) until they
   reach the ceiling of credit card limit. Anyone who has occasionally walked in a
   retail bank branch can testify for the improbability of such ascenario -it's
   improbable in any retail bank branch, not only WF.
 89. Credit card written or verbal contract is a forgery.
 WHEREFORE,Plaintiff prays for relief as set forth below.
                               Count 4 -Accounting Fraud
 90. Plaintiff realleges and incorporates by reference each and every allegation
  contained in forgoing as though fully set forth herein.
 91. Defendants interest charges after credit card account closure are false in
  nature and fraudulent accounting entries without any contract. Those charges are
  fraudulent especially when Plaintiff repeatedly offered the payment and
  Defendants refused to accept it.
///
///



  Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   24
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 25 of 48 Page ID #:25




 92. There has been no verbal or written credit card contract to authorize interest
      charges after account closure date (CBG) and Plaintiff never agreed with those
      conditions.
 93. All credit card account's monthly balances after account closure date and total
      charge-off amount reported to third parties are false.
 94. Defendants have reported identical account balance (and charge-ofd to all
      CRAB but with different account closure dates (with considerable gaps) which is
      incoherent.
        Even in one case, Experian shows that the credit card account is still open.
   This is while Defendants had claimed (in May 2016)that they had "reviewed the
   information reported to the credit bureaus and confirm that Wells Fargo is
   accurately reporting this account".
 WHEREFORE,Plaintiff prays for relief as set forth below.
                          Count 5 -Aiding and Abetting Fraud
 95. Plaintiff realleges and incorporates by reference each and every allegation
   contained in forgoing as though fully set forth herein.
 96. Wells Fargo's desire to boost its revenue and profit has been the impetus
   behind loose or inadequate policies and procedures to prevent the rampant
   corruption and fraud in which its employees and agents participated (see Count
  6). Plaintiff would not have been victimized if Defendants had applied
   meaningful monitoring and control over their employees and agents.
 97. Defendants' employees and agents were allowed to use the "Wells Fargo"
  name, arrange coordinated attacks on individual accounts, receive substantial
  support, and cause such widespread harm to innocent victims like Plaintiff as
  correctly recognized by the Federal Reserve and Treasury Dept.(y[ 51).
       Plaintiff is not the only victim of Wells Fargo's corrupt system.
///
///



   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   25
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 26 of 48 Page ID #:26




 89. The above deficiencies and corrupt culture of encouraging fraud is dominant
   at Wells Fargo even today. In her declarations, Wells Faxgo's VP presents
   details and assertions under oath which the defendants had vehemently denied
   previously, again under oath (see Count 7 -Perjury at 9[9[ 109-115).
 90. WF's Kotzman declarations to the court contains baseless claims (without
   personal information), false statements and misrepresentations. For example,
   while there is a litany about the $650 check situation, there is not a single
   statement that Wells Fargo made a mistake or, the EWS report was wrong or, the
   check had cleared without problem. In any case, the responsibility of
   decision-making remains with Wells Fargo regardless of whether or how third
   parties provided bad advice or feedback to the defendants.
 91. Defendants knew or should have known that their employees and agents were
   materially fueling the account targeting and negative reporting scam, but WF did
   not take adequate measures to halt that harmful activity before Plaintiff was
   victimized.
 92. Upon information and belief, Defendants not only had actual knowledge of
   the their employees' and agents' dreadful misconduct but encouraged and
   facilitated their illegal activities (9[ 51).
 WHEREFORE,Plaintiff prays for relief as set forth below.
                   Count6 -Negligent Retention And Suuervision
 93. Plaintiff realleges and incorporates by reference each and every allegation
   contained in forgoing as though fully set forth herein.
 94. This action seeks damages based upon Defendants' negligent retention and

   supervision of their (current and ex) employees, agents and/or representatives,
  including but not limited to ...,
          - Cynthia Mccray (title unknown),
          - Connie Kotzman (VP),
          - Katherine Abney (Research/Remediation Analyst),



   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   26
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 27 of 48 Page ID #:27




          - Angela Barkley (title unknown),
          - Andria Solis (title unknown),
          - Lucia D.(Wells Fargo Online Customer Service),
          - John G. Stumpf(Ex Chairman and CEO),
          - Gregory Hopkin (Dept. Manager of Research and Correspondence),
     ... who are responsible for, inter alia, knowingly starting this case and
   purposefully used pressure, lies, misrepresentation and deceit to harm the
   plaintiff and assisted furthering the corrupt culture of oppression at Wells Fargo.
 95. Wells Fargo knew (or should have known)that the plaintiff could not possibly
   have any control in any part of this case --namely, multiple unauthorized check
   submission andlor my brother's $650 check deposit and/or EWS wrong report
   and/or interactions between Wells Fargo with EWS, payor bank andlor Federal
   Reserve ACH.
     Defendants knew or should have known that their employees, representatives
   and agents were engaging in activities that were improper and harmful to
   Plaintiff(see y[y[ 30-35, Exchanges with Chairman and CEO).
 96. Defendants had an obligation to investigate and monitor their employees' and
   agents' activities in connection with account targeting scam or adverse public
   reports; and, had Defendants conducted even a reasonably diligent investigation
   with respect to their employees' and agents' actions in that regard, Defendants
   would have discovered that their employees and agents were, in fact, rendering
   harmful assistance to a criminal enterprise that was perpetrating the scam.
 97. Defendants had a duty to take steps to prevent or rectify the improper
   activities and conduct of their employees and agents.
 98. Rather than discharging their duties to Plaintiff, Defendants turned a blind eye
   to, or failed to exercise reasonable means to discover and correct, active
   misconduct on the part of their employees and agents.




   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   27
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 28 of 48 Page ID #:28




 99. As a direct and proximate result of Defendants' negligent retention and

      supervision of their employees and agents, Plaintiff suffered damages for which
      Defendants are liable.
 WHEREFORE,Plaintiff prays for relief as set forth below.
                                     Count 7 _Perjury
 100. Plaintiff realleges and incorporates by reference each and every allegation
      contained in forgoing as though fully set forth herein.
 101. On Aug. 28, 2017 --Discovery's initial disclosure rule 26(a)(1)(A)(ii)-- Wells
   Fargo confirms that they do have documents pertaining to information furnished
      by Wells Fargo to EWS regarding Plaintiff's accounts.
 102. In Response to Plaintiff's Request for Production WF changed their story and
   stated that they have no records about information they furnished to EWS.
 103. In Oct. 2017, in Response to Plaintiff's Request for Admission Wells Fargo
   confirmed they have "absolutely" no file /document /record about the
   information which they transmitted to EWS.
 104. Among their MSJ papers, WF's VP (Kotzman) sworn declaration tells the
   court that she knows exactly what Wells Fargo transmitted to EWS and when.
   She provided details with exact quotes of words and phrases.
 105. The statements from WF's CEO office denying the existence of external
  report about deposit accounts and deletion of their internal reports should be
  considered next to the above items.
 106. All the above declarations (y[9[ 110-113) come with acknowledgment of
  penalty of perjury and all the above of them can not be true at the same time.
  This is the continuation of the same corrupt organization.
 WHEREFORE,Plaintiff prays for relief as set forth below.
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///
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   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   28
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 29 of 48 Page ID #:29




               CLAIMS COMMON TO ALL CAUSES OF ACTION
 107. Plaintiff realleges and incorporates by reference each and every allegation
   contained in forgoing as though fully set forth herein.
 108. Wells Fargo's continued publications of baseless and false reports about
   Plaintiff to the public was with complete knowledge that the negative reports
   would harm the plaintiff at personal and business level.
 109. As direct and proximate result of Defendants' participation in, and furtherance
   of the issues in this case, Plaintiff has suffered both material and non-material
   damages.
 110. Defendants knowingly and willingly disregarded legitimate plaintiff rights
   and denied him access to information.
 111. All Defendants' actions have been willful, premeditated, malicious and
   oppressive performed with actual intentional ill will. They were perfectly aware
   of the effects and consequences of their actions and misconduct.
 112. Defendants have published false, inaccurate, defamatory reports, statements
   and alerts, both internal and external to defendants' organizations, reckless for
   plaintiffs rights, with malice and oppression toward plaintiff in that defendants
  knew that the statements were shaped, or acted with disregard for the truth of
  those reports, publications and statements, thereby entitling plaintiff to an award
  of punitive damages.
 113. None   of the defendants' accusations of wrongdoing, fraud and/or illegal
  activities are true as defendants could not have reasonably believed the
  allegations due to plaintiff's history as well as size and nature of the activities.
 114. As direct result of defendants' misconduct and negligent, reckless, malicious,
  wrongful acts as well as continuous false, inaccurate and defamatory
  publications plaintiff has suffered both material and non-material damages in all
  aspects of his life since January 2016 Plaintiff is entitled to general, special and
  consequential damages for loss of reputation, dignity, trustworthiness,



  Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   29
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 30 of 48 Page ID #:30




   credibility, creditworthiness, credit standing, credit capacity and lost
   opportunities. Plaintiff has endured personal humiliation, disgrace, emotional
   distress, shame, agony, pain and suffering, mortification and hurt feelings.
 115. The effects of Defendants wrongful acts have been damaging the plaintiff and
   will continue to harm the plaintiff directly for about a decade as their incorrect
   reports will remain on public display for years to come.
 WHEREFORE,Plaintiff prays for relief as set forth below.
                             DEMAND FOR TURY TRAIL
      Plaintiff hereby requests a jury trial on the issues raised in this complaint.
                                  REQUEST FOR RELIEF
      WHEREFORE,the plaintiff requests and prays:
      1) For compensatory damages in an amount to be determined at trial;
      2) For Court's Order that Defendants remove all adverse information which
           they have furnished to CRAB,EWS and their resellers;
     3) For plaintiffs cost of suit;
     4) For punitive damages;
     5) For such other relief as the court may deem just and proper.
        Dated:              O           q Respectfully submitted,


                                                        -~~
                                                        `

                                            Sina Kianpour
                                            Plaintiff Pro Se




   Complaint for Fraud, Forgery, Negligent Supervision, Perjury; Demand for Jury Trail;   30
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 31 of 48 Page ID #:31




                Exhibit A                                     Page

                - WF's original account closure
                  notice and Notice of nonpayment
                  dated 01/27/2016.                           2

                - WF's Forged Notice of nonpayment
                  dated 01/21/2016.                           3

                Exhibit B
                ------------------------------------------
                WF's first accusation of credit card fraud    2
                dated 02/08/2016.

                Exhibit C

                WF's credit card statements between
                Nov. to Jan. 2016 which shows Plaintiff
                had not used the card at all.                 2-3

               Exhibit D
               ------------------------------------------
               - Jabbari and Heffelfinger v. Wells Fargo      2-7
               Forgery and Fraud class action,
               WF paid about $440 million.

                Federal Reserve condemns Wells Fargo
               for "pervasive and persistent misconduct..."   8-9

               - Treasury Dept. condemns Wells Fargo
               with +$1.5 Billion fine for
               "deficiencies and violations oflaw,
                the financial harm to consumers..."           10




                         EXHIBIT A

 P. 1.
      Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 32 of 48 Page ID #:32
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 Subject: The following accounts will he closed


 Account Number                        QCCOUht aU11'f~f
 xxxxxx-x~t~1z                         x~txxx-x~txoasl

 Dear Sina Kianpour.
 V11e are writing you to let you kn ~w that we have begun the process ofc4astng your accaunt(sf because ofone or
 more checks that were depositE~ or cashed that maybe returned unpaid Far insufficient funds.             --""

 Monetary transactions on khe ~c ~ount(s)are blocked and the cards)linked to the aceaunt(s)is deactivated
                                  — ,_~,                                                                —
 You rna}r verify the current balance of your accounts)at any slot  www.wellsfargacom,or 6y calling
 i-8U0-869-3557,available 24 he ufs a day,7 days a week.

                 if the balance i ~ positive, your accounts)is schedulHd to be dosed by 02/10/16,and a cashier's
                 check for any f ends due to you will be mailed
                                                             ' 'Ttoeaddress above when the account is closed.

            •    If the balance i ~ negative, please make a cash deposit ire the exatk amount of the overdraft. You
                 are res~nsiblc~ for payment of any money awed wfien the account is closed.

for assistance or tf you have guE stuns, please ca[I us at i-888-231-0757 Monday through Friday from 6:00 a.m. to
6;3~ p.m,or Saturday from 7;00 3.m. to 4;00 p,rn. Ractfic Time.

Prevention Contact Center




nor,~rr-~c P.2
 Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 33 of 48 Page ID #:33

Prevention Contact Center
MAC A0143-043                                                                              W'~::I,LS
P.O. Box 7406                                                                              F'F~1tG4
San Francisco, CA 94120-7406
01/21/16




                    SYNA KIANPOUR
                    5151 WHITE OAK AVE APT 312
                    ENCINO CA    91316-2445




                                                                      Forged Notice

  Re:   Account Number:'XXXXXXXXXXXXX9612

  Dear Customer:.                                   f

  The check(s) identified below that was deposited or cashed on your Wells Fargo
  account has been returned unpaid. We have re-deposited the checks) and are
  placing a hold an the funds from the check s) until the date s) indicated below.
  Re-Deposit Date/                                  Hold Reason/
  Item Amount               Amount Delayed       Date Funds W11 Be Available

              01/21/16                           Insufficient funds at inquiry time
               $600.00             $600.00       o2/oi/i6
 A hold means that although the check amount is credited to your account, the funds
 are not available far your use {please refer to the last page of this letter
 for more information about a hold on your account). To avoid overdrawing your
 account and incurring overdraft fees, during this time please do not make
 withdrawals or write checks against these funds fif your account allows check
 writing} ,
 If the checks) listed above is returned again, we will mail a notice to you the
 same day and deduct the amount of the check s) from your account. A deposit item
 return fee will also be deducted from your account for each check returned (unless
 your account does not assess a fee for returned cheeks). Please refer to your
 account Fee and Information Schedule for the amount of the fee.
 We understand the inconvenience that can aecur when a check is returned. If you
 have questions regarding the availability of funds, please refer to the
 information on the last gage of this letter or contact one of our
 representatives at the telephone number printed an your monthly account statement.
 We appreciate your business and thank you for banking with Wells Fargo.
 Sincerely,
 Prevention Contact Center




 RDH-0834-P     00114                                             CONTINUED ON NEXT PAGE
                                        PAGE 1




  P.3
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 34 of 48 Page ID #:34




                Exhibit A                                      Page

                - WF's original account closure
                  notice and Notice of nonpayment
                  dated 01/27/2016.                            2

                - WF's Forged Notice of nonpayment
                  dated O 1/21/2016.                           3

                Exhibit B

                WF's first accusation of credit card fraud     2
                dated 02/08/2016.

                Exhibit C

                WF's credit card statements between
                Nov. to Jan. 2016 which shows Plaintiff
                had not used the card at all.                  2-3

                Exhibit D

                - Jabbari and Heffelfinger v. Wells Fargo      2-7
                Forgery and Fraud class action,
                WF paid about $440 million.

                - Federal Reserve condemns Wells Fargo
                for "pervasive and persistent misconduct..."   8-9

               - Treasury Dept. condemns Wells Fargo
               with +$1.5 Billion fine for
               "deficiencies and violations oflaw,
                the financial harm to consumers..."            10




                     EXHIBIT B

P.
             W C11S I'dI~U 1V1CJSd~C LCldll                                                                                                                    I'A~C 1 Ul 1
             Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 35 of 48 Page ID #:35




                             Wells Fargo Business Online

             Message Detail
             < Previous ~ Next >
              SubJ~ct                Re'. Online banitinp questions(KMM50721791V63077LOKM)
              Racalvad               February B, 2018
              From                   Customer Service
                                     Conlaet W



             Dear Sina Kianpour.

             Thank you for replying to our recent email. My name is Lucia, and it is
             my pleasure to assist you today.

              would like to thank you for choosing to have your accounts with us. We
             appreciate having you as our customer.

             Ms. Kianpour, I understand your concern regarding your credit card
             account. I can see the importance of this matter and it is perfectly
             understandable how you feel.

             Our records show that our Fraud Prevention department has suspected
             fraudulent activity on your credit card account and would like to speak
Where        with you. Because they have not been able to contact you, a temporary
aCe tllOSe   block has been placed on the account. The temporary block is a security
             measure placed for your protection to help prevent fraudulent
I'eCOTc~S?   transactions from posting to your account. I am not able to remove the
             block from your card based on an email request because our Fraud
             Prevention department requires that they speak wRh you directly. For
             further assistance regarding this issue, please call our Fraud
             Prevention department at 1-800.723-5533 or collect at 925-827600.
             Agents are available to assist you Monday through Saturday from 6:00
             a.m. to 9:00 p.m. and Sunday from 6:00 a.m. to 6:30 p.m., Pac'fiic Time.
             If you are currently not in the U.S., you can call us collect at
             1-925-825-7600.

              know that your time is valuable and I would not direct you to contact
             us by telephone unless absolutely necessary. I apologize that I am not
             able to assist you with this issue through email.

             On behalf of Wells Fargo, thank you for your business. We are happy to
             have you as our customer and appreciate the opportunity to assist you
             today.

             Sincerely,
             Lucia D
             Wells Fargo Online Customer Service



             ORIGINAL MESSAGE:


             Today I received an email for credit card minimum payment. If you look at our previous email exchanges and phone calls (since Jan 29), when I wanted to pay for
             the card I received an answer that some one has decided to dose these accounts and transactions are not possible, when I wanted do transactions the answer was
             that the auount will be Gosed in 10 days and I will receive a cheque after 10 days(that was on Jan 29). But now I am getting "statement ready" and "card
             notfiications". Could some one in WF tell me what is going on? I am totally confused.

             Sins Kianpour

             SSb0909a-aa7442b1-a29c-ce18de39b922




                                                                                           E-1 Equal Housing Lender
                                                                                  ~ 1995 - 2016 Wells Fargo. All rights reserved.




               P.2
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 36 of 48 Page ID #:36




               Exhibit A                                     Page

               - WF's original account closure
                 notice and Notice of nonpayment
                 dated O1/27/2016.                           2

               - WF's Forged Notice ofnonpayment
                 dated 01/21/2016.                           3

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               dated 02/08/2016.

               Exhibit C

              WF's credit card statements between
              Nov. to Jan. 2016 which shows Plaintiff
              had not used the card at all.                  2-3

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              - Jabbari and Heffelfinger v. Wells Fargo      2-7
              Forgery and Fraud class action,
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              - Federal Reserve condemns Wells Fargo
              for "pervasive and persistent misconduct..."   8-9

              - Treasury Dept. condemns Wells Fargo
              with +$1.5 Billion fine for
              "deficiencies and violations of law,
               the financial harm to consumers..."           10




                     EXHIBIT C

 P. 1
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 37 of 48 Page ID #:37
       WELLS FARGO
       vI~                                     Account Number                               Ending in 7821
                                               Statement Billing Pe►fod                     12/09/2075 to 01/08/2018
                                               Page 1 of 6
       Balance Summary
        Previous Balance                                                      51,136.55      Z¢Hour Customer Senrice:                    1-800-642720
       -Payments                                                                             TN for Hearing/Speech Impaired:             1-800-479-2265
                                                                                 x20.00
                                                                                             Outside the US Call Collect:                1-925-8257600
       -Other Credits
                                                                                             Wells Fargo Online:                         wellsfargo.com
       +Cash Advances                                                             $0.00
       +Pur~ases, Balance Trensfers 8                                             x0.00
        Other Charges                                                                        Send Ganaral Inquiries To:
      + Feas Charged                                                              :0.00      p0 Box 10347, Des Moines IA, 50306-0347
      + Interest Charged                                                          52.78
      = New B~ance                                                            $1,119.33
      Total Credit Limit                                                        $1,500       Total Available Credit                                                       $380

      Payment Information
      New Balance                                                             $1,119.33     Send Payments To:
      Minimum Payment                                                            $15.00     PO Box 51193, Los Mpeles CA, 90051-5493
      Payment Due Date                                                       02/02/2016
           Late Payment Warning: If we do not receive your Minimum Payment by 02/02/2016, you may have to pay a late fee up to $35.
           Minimum Payment Warning: If you make ony the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
           balance. For example:
                If you make no additional charges using                 You will pay off the New Balance shown on                   And you will end up paying an
                   this card and each month you pay ...                          this statement in about ...                             estimated Wtal of ...
                             Ony the minimum payment                                        10 years                                           E2,290
                                       $40                                                                                             $1.426
                                                                                            3 years
                                                                                                                                 (Savings W 5864)
              ~~ ~..          ~~..~~~~a~~~~ a~~~. ..o~~~ w~~~ocm ~y ac~v~              ~e~ iv wow.usuu~.gunusueomapcpaiccaeicc_apprvvea.nan or can
              7-077-285-2108.

      Important Information
                             PLEASE SEE THE ENCLOSED IMPORTANT CHANGES TO YOUR ACCOUNT TERMS, IN A SUBSEQUENT PAGE OF
                                                              YOUR BILLING STATEMENT.

                    PLEASE READ THE ENCLOSED BROCHURE FOR IMPORTANT CHANGES TO YOUR WELLS FARGO REWARDS PROGRAM
                                                         TERMS AND CONDITIONS.
      Wells Fargo Rewards" Program Summary
      Rewards Balance as of:                                                               12/31/2015                        1,456


                                            The Rewards Balance is for Rewards ID 60009164511.
       This balance may be inGusive of other contributing Rewards accounts. For uFrto-date Rewards Balance information, or more ways
                         to earn and redeem your rewards, visit MyWeIlsFargoRewards.com or call 1-877-517-1358.

      Transactions
      Trans       Post           Re/erence Number                 Description                                                                       Credits          Charges

      Payments
      12/30       12/30    7446542BDOA92NN47     ONLINE PAYMENT                                                                                       20.00
                  TOTAL PAYMENTS FOR THIS PERIOD                                                                                                     620.00

      Fees Charged
                  TOTAL FEES CHARGED FOR THIS PERIOD                                                                                                                    j0.00




                                         NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION ABOUT YOUR ACCOUNT                                                    Continued      y
      5596            YI(G         1       7     9   160108   0          PAGE 1 of 6         10   5583   7000     C06L   O1DP5596




     Detach and mail with check payable to Wells Fargo
                                                                                                                Account Number                          4465 4203 3391 7821
                                                                                                                New Balance                                       $1,119.33
                                                                                                                Minimum Payment                                      $15.00
                                                                                                                Paymerrt Due Date                                02/02/2016




   0 0111933000020000000150044654203339178213                                                                Amount
                                                                                                           Enclosed



             SINA KIANPOUR
             5151 WHITE OAK AVE APT 312
             ENCINO CA 91316-2446                                                                                 WELLS FARGO CARD SERVICES                   YKG
             111"I~~~~~I~~~~II~I~~I~~IIII'III"II~~'~~'lll'I~~I'I'I~I~~I~II                                        PO BOX 51193                                4
                                                                                                                  LOS ANGELES CA 90051-5493
                                                                                                                  d~III~dI~~drhih~I~Ihrhiru~pm~i~hmPd~ih4~lu~
 P~ ~ `      Check here and see reverse for address and/or phone number correction.
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 38 of 48 Page ID #:38
       WELLS FARGO
       yl~                                   Account Number                              4485 4203 7791 7827
                                             Statement Billing Period                    07/09/2018 to 02/05/2018
                                             Page 1 M 2
       Balance Summary
         Previous Balance                                                   $1,119.33     24-Hour Customer Service:                       1-800-642720
       - Payments                                                               y0.00     TTY f°r Hearing/Speech Impaired:                1-800-4132265
       - Other Credits                                                                    Outside the US Call Collect:                    1-925-8257600
       + Cash Advances                                                          $0.00     Wells Fargo Online:                             wellsfargo.com
       + Purchases, Balance Trensfers &                                         $0.00
         Other Charges                                                                   Send Generallnquiries To:
       + Fees Charged                                                          675.00    p0 Box 10347, Des Moines IA, 50306-0347
       + IntereatChargad                                                        52.48
       = New Balance                                                        $1,736.81
       Total Credit Limit                                                     $1,500     Total Available Credit                                                                       gp

       Payment Information
       New Balance                                                          $1,136.81    Send Payments To:
       Minimum Payment                                                         544.00    PO Box 51193, Los Angeles Cq 90051-5493
        (Indudes Past Due Amount of $15.00)
       Payment Due Date                                                    03/02/2016
           Late Payment Warning: If we do not receive your Minimum Payment by 03/02/2076, you may have to pay a late fee up to $35.
           Minimum Payment Warning: If you make ony the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
           balance. For example:
                If you make no additional charges using               You will pay off the New Balance shown on                    And you will end up paying an
                  this card and each month you pay ...                         this statement in about ...                             estimated total of ...
                            Only We minimum payment                                      10 years                                                  52,308

                                      S41                                                3 years                           $1,468
                                                                                                                      (Savings of $840)
             ~ ~ ~.. .. ~         ~~~~~~~au~~~ a~~~i noun wuuxnny ae~v~cca, ~ciai w sww.usav~.gvwua~ewoapcpaiccaeicc approvea.ncm or tali
             7-877-285-2108.

       Important Information
                                               YOUR ACCOUNT IS PAST DUE.PLEASE CALL 1-800-988-8019 OR VISIT
                                          WELLSFARGO.COM TO MAKE A PAYMENT. THIS IS AN ATTEMPT TO COLLECT A DEBT
                                              AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

       Wells Fargo Rewards Program Summary
       Rewards Balance as of:                                                           01/31/2016                          1,456


                                             The Rewards Balance is for Rewards ID 60009164511.
        This balance may be inGusive of other contributing Rewards accounts. For up-to-date Rewards Balance information, or more ways
                          to earn and redeem your rewards, visit MyWeIlsFargoRewards.com or call 1-877-517-1358.

       Transactions
       Trans     Post           Reference Number                Description                                                                              Credits                Charges

       Fees Charged
    02/05        02/05                         LATE FEE                                                                                                                            15.00
                 TOTAL FEES CHARGED FOR THIS PEWOD                                                                                                                               615.00




                                        NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION ABOUT YOUR ACCOUNT                                                           Continued             y
    5596             YI(G         1      7    9   160205   0       A D PAGE 1 of 2        10   5583   2000     CO6L   O1DP5596



    Detach and mail wAh check payable to Wells Fargo
                                                                                                             Account Number                       4465 4203 3391 7821
                                                                                                             New Balance                                     x1,136.81
                                                                                                             Minimum Payment                                    $44.00
                                                                                                               (Includes Past Due Amount of $15.00)
                                                                                                             Payment Due Date                              03/02/2016




  00113681000020000000440044654203339178216                                                              Amount           ~ r
                                                                                                        Enclosed
                                                                                                                             .                      ..   ::'.::.        .. :~         ..5-.




            SINA KIANPOUR
            5151 WHITE OAK AVE APT 312
            ENCINO CA 91316-2446                                                                               WELLS FARGO CARD SERVICES                            YKG
             '~II'I~I~~I~~~"~~'~II~II~~IIIII~"~'~I'llll'll~~'I'I"II""~~'                                       PO BOX 51193                                         4
                                                                                                               LOS ANGELES CA 90051-5493
                                                                                                               1~~1~II~~III'~~II~~~~II~~II~~I~~~I~~~~I~~III~~~~~~~~I~~I~I~~~II~I

P~ ~        Check here and see reverse for address and/or phone number cortecbon.
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 39 of 48 Page ID #:39




               Exhibit A                                      Page

               - WF's original account closure
                 notice and Notice of nonpayment
                 dated 01/27/2016.                            2

               - WF's Forged Notice of nonpayment
                 dated 01/21/2016.                            3

               Exhibit B

               WF's first accusation of credit card fraud     2
               dated 02/08/2016.

               Exhibit C
               ------------------------------------------
               WF's credit card statements between
               Nov. to Jan. 2016 which shows Plaintiff
               had not used the card at all.                  2-3

               Exhibit D

               - Jabbari and Heffelfinger v. Wells Fargo      2-7
               Forgery and Fraud class action,
               WF paid about $440 million.

               - Federal Reserve condemns Wells Fargo
               for "pervasive and persistent misconduct..."   8-9

              - Treasury Dept. condemns Wells Fargo
              with +$1.5 Billion fine for
              "deficiencies and violations oflaw,
               the financial harm to consumers..."            10




                     EXHIBIT D

P. l
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 40 of 48 Page ID #:40


                Case3:15-cv-02159-VC Document37 Filed07/30/15 Page13 of 33
  D.      Plaintiff Jabbari's Ezperieace

          52.        Plaintiff Jabbari first opened an account with Wells Fargo in 2011. Like many people, he

  only wanted two accounts from Wells Fargo: checking and savings. Within two years, however, Mr.

  Jabbari had seven additional Wells Fargo accounts that he did not authorize and was not aware of.

          53.        The account application for the two accounts opened in Mr. Jabbari's name in January

 2011 include an apparently forged signature:

         ~~HAHRTAi~ ~~BBART                                       .
         ~I~ C~rt~~atio~ Signatu~




         54.         That same month, a Wells Fargo employee enrolled Mr. Jabbari in Wells Fargo's

 ExpressSend service, which customers may use to send funds abroad. Mr. Jabbari did not request that

 service, did not authorize his enrollment in it, and has never used it. This is the blank signature field

 from that January 14, 2011 remittance service agreement he did not authorize:


                 ~'171tt~'




         55.      Four months later, Wells Fargo opened two more accounts in Mr. Jabbari's name that he

 did not authorize and was not aware of. The application for those accounts, opened Apri16, 2011, has no

 signature at all:




P.2
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 41 of 48 Page ID #:41


               Case3:15-cv-02159-VC Document37 Filed07/30/15 Page14 of 33


         ~J~OrI'iB~"~ ~I'Tl~
                                ~.       ~     ~.
                                             r.


         ~J~OrTIe['~ ~~Il~l~




         56.        At that point, however, Wells Fazgo was just getting warmed up. Less than one month

 later, on May 2, 2011, Wells Fargo and its employee or employees opened two more accounts—a PMA

 Prime Checking account and a High Yield Savings account—in Mr. Jabbari's name without his

 knowledge or consent. That application also did not include a signature:

      [~~ ~.11~~           l= 11'
                y      ~    ~   s    y       ~:~




               vmer'[ 9~at~e




        57.         Less than two weeks later, Wells Fargo opened two more accounts in Mr. Jabbari's name:

 a Complete Advantage Checking account and Money Market Savings account. As before, Mr. Jabbari

 did not know of and did not consent to those accounts. That account application included different

 signatures purporting to be Mr. Jabbari's when,in fact, they are not:




P.3
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 42 of 48 Page ID #:42


              Case3:15-cv-02159-VC Document37 Filed07/30/15 Page15 of 33




        ~11StQfi'I~ ~ ~8R1f.'
              t~.~t~tr~r~ ,~~~~~~x
        C~t~m~r t
                                                                                    r
                                               ,..~_ r



        58.     Less than one month after that, on June 25, 2011, Wells Fargo struck again, opening

 another savings account in Mr. Jabbari's name, using two more signatures that do not belong to him:

                                  ~r.


        TIN Certificatfa~ S~r~ure
               ~~
       ~~




 P.4
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 43 of 48 Page ID #:43


                   Case3:15-cv-02159-VC Document37 Filed07/30/15 Page16 of 33

                                        s t
         1     i~i      r   ;•        i r 4, r



       ~~~l7Gd




                                                              ••.r




             59.     Wells Fargo opened those two final accounts without Mr. Jabbari's authorization from a

 branch in Northern California on a day when Mr. Jabbari was in Los Angeles.

             60.     During this period, Wells Fargo periodically sent new debit or other cards attached to

 these new accounts to Mr. Jabbari. Mr. Jabbari reasonably believed that those cards related to his

 original accounts, and were intended to replace his existing debit card. He had no reason to suspect they

 were attached to accounts he had no knowledge of.

             61.     At one point, after he received three debit cards during a relatively short period of time,

 he contacted Wells Fargo, which essentially told him to disregard the additional cards and dispose of

 them.

             62.     Mr. Jabbari believes he has been charged fees for many or all of the unauthorized

 accounts of which he is now aware, and that Wells Fargo may still be assessing fees for those and other

 accounts of which he is unawaze.

             63.     As a result of the unauthorized accounts, Mr. Jabbari has received notices from collection

 agencies seeking to collect unpaid fees allegedly owed to Wells Fargo. He has also been assessed an

 unknown amount in unauthorized fees. Moreover, he believes his credit score has been harmed as a

 result of Wells Fargo's effort to collect on unpaid fees; because ofthe damage Wells Fargo has done to

 his credit, Mr. Jabbari has been unable to open a new bank account.




P.5
    Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 44 of 48 Page ID #:44


                  Case3:15-cv-02159-VC Document37 Filed07/30/15 Page17 of 33
•    E.      Plaintiff Heffelfinger's Experience

            64.     To her knowledge, Plaintiff Heffelfinger first opened an account with Wells Fargo in

     March 2012. At that time, she opened two accounts — a checking and a savings account —because she

     was told she needed both in order to receive a debit card. This is Ms. Heffelfinger's signature from that

     account application:
                            ~- -                   -~ - -
                   I~AY~,EE H~F'~'EL~'I1r1GER
                   TIN ~ertific$tian 5ig n~t~u~e




            65.     Three months earlier, however, before Ms. Heffelfinger ever requested an account with

     Wells Fargo, Wells Fargo and its employee or employees opened two accounts—a checking account and

     a savings account—in her name without her consent or knowledge, using this apparently forged

     signature:


                   T;~x :s~or~~it~le ~~;t~~~~r i~an~e:
                   ;~A~~,~~ ~i~F~~L~'II~~~R
                   ~~~I~er~i~icati~p 5ign~t~~e
                    ~ttV.t~;~t?~:F~~tr




           66.     That was not the end of things. In October 2012, Wells Fargo and its employee or

     employees opened two more accounts—"Way2Save" checking and savings accounts—in Ms.




    P.6
Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 45 of 48 Page ID #:45


               Case3:15-cv-02159-VC Document37 Filed07/30/15 Page18 of 33
  Heffelfinger's name, again without her authorization or awareness. That account application had no

  signature at all:


                  ~ustorner ]Name
                      I~AYL~~ HE~'F~I~F~~i~ER

                  Castarrie~ 1 signature




         67.     In July of 2013, Ms. Heffelfinger discontinued actively using her Wells Fargo accounts,

 and only checked their balances occasionally.

         68.     Sometime in 2014 a collection agency called Ms. Heffelfinger, claiming she owed Wells

 Fargo approximately $115. As she had not used her Wells Fargo accounts in some time, she thought this

 was simply an error and did not investigate the matter further.

         69.     On May 16, 2015, Ms. Heffelfinger visited a Wells Fargo branch. There, the personal

 banker contacted the collections department, which told her she had two accounts in collections. On one

 account, she purportedly owed Wells Fargo $97 and on another $113. When she asked to see which

 accounts were in collections, the personal banker was able to find only one of the accountsthe one on

 which she apparently owed $113.

        70.      Ms. Heffelfinger asked for details about the one account purportedly in collections that

 Wells Fargo was able to find. When she reviewed the account, it was unfamiliar to her, and she has no

 recollection of having opened this account or ever having received a statement for this account.

        71.     Ms. Heffelfinger was now, understandably, quite concerned. Not only did Wells Fargo

 claim she owed it money, but the bank had an account in her name that she had not authorized and the

 bank claimed to have yet another account in her name that it could not locate.


P.7
 sic i•cu - a~c~~vuwug w wiuw~icau wu~uuic► avu~w auu wiiiyuau~c u...     uuY~.iiwww.icuciauwci vc.guvii~cw~cvcuwiYiw~icica~wicui~i~cuic~u.
             Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 46 of 48 Page ID #:46




            Press Release

            February 02, 2018

            Responding to widespread consumer abuses and
            compliance breakdowns by Wells Fargo, Federal
            Reserve restricts Wells' growth until firm
            improves governance and controls. Concurrent
            with Fed action, Wells to replace three directors by
            April, one by year end
            For release at 6:15 p.m. EST

            Share                                                                               Federal Reserve

            Responding to recent and widespread consumer abuses and other
            compliance breakdowns by Wells Fargo, the Federal Reserve Board on
            Friday announced that it would restrict the growth of the firm until it
                                 its governance and controls. Concurrently with the
            Board's action, Wells Fargo will replace three current board members by
            April and a fourth board member by the end of the year.

            In addition to the growth restriction, the Board's consent cease and desist
            order with Wells Fargo requires the firm to improve its governance and risk
            management processes, including strengthening the effectiveness of
            oversight by its board of directors. Until the firm makes sufficient
            improvements, it will be restricted from growing any larger than its total
            asset size as of the end of 2017. The Board required each current director
            to sign the cease and desist order.

           "We cannot tolerate pervasive and persistent misconduct at any bank and
           the consumers harmed by Wells Fargo expect that robust and
           comprehensive reforms will be put in place to make certain that the abuses
           do not occur again," Chair Janet L. Yellen said. "The enforcement action we
           are taking today will ensure that Wells Fargo will not expand until it is able
           to do so safely and with the protections needed to manage all of its risks
           and protect its customers."

           In recent years, Wells Fargo pursued a business strategy that prioritized its
           overall growth without ensuring appropriate management of all key risks.
           The firm did not have an effective firm-wide risk management ftamework in
           place that covered all key risks. This prevented the proper escalation of
           serious compliance breakdowns to the board of directors.

           The Board's action will restrict Wells Fargo's growth until its governance
           and risk management sufficiently improves but will not require the firm to
           cease current activities, including accepting customer deposits or making
           consumer loans.

           Emphasizing the need for improved director oversight of the firm, the Board
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             Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 47 of 48 Page ID #:47

          has sent letters to each current Wells Fargo board member confirming that
         'the firm's board of directors, during the period of compliance breakdowns,
          did not meet supervisory expectations. Letters were also sent to former
          Chairman and Chief Executive Officer John Stumpf and past lead
          independent director Stephen Sanger stating that their performance in
          those roles, in particular, did not meet the Federal Reserve's expectations.

            For media inquiries, call 202-452-2955.

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                    Attachment 1 (PDF)
                    Attachment 2(PDF)
                    Attachment 3(PDF)
                    Attachment 4(PDF)



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         Last Update: February o2, 2oi8




             Complete page address ---- https://www.federalreserve.gov/newsevents/pressreleases/enforcement20180202a.htm




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               Case 2:19-cv-05812-VAP-AS Document 1 Filed 07/05/19 Page 48 of 48 Page ID #:48


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                  FOR IMMEDIATE RELEASE                                                                 Contact: Bryan Hubbard
                  April 20, 2018                                                                                (202)649-6870


                       OCC Assesses $500 Million Penalty Against Welis Fargo, Orders Restitution for Unsafe or
                                                        Unsound Practices

                  WASHINGTON—The Office of the Comptroller of the Currency(OCC)today assessed a $500 million civil
                  money penalty against Wells Fargo Bank, N.A., and ordered the bank to make restitution to customers
                  harmed by its unsafe or unsound practices, and develop and implement an effective enterprise-wide
                  compliance risk management program.

                  The OCC's action was closely coordinated with an action by the Bureau of Consumer Financial Protection
                  and made possible through the collaborative approach taken by the bureau. Separately, the bureau
                  assessed a 1 billion penalty against the bank and credited the amount collected by the OCC toward the
                  satisfaction of its fine.

                  The OCC took these actions given the severity of the deficiencies and violations of law, the financial harm
                  to consumers, and the bank's failure to correct the deficiencies and violations in a timely manner. The
                  OCC found deficiencies in the bank's enterprise-wide compliance risk management program that
                  constituted reckless, unsafe, or unsound practices and resulted in violations of the unfair practices prong
                  of Section 5 of the Federal Trade Commission (FTC) Act. In addition, the agency found the bank violated
                  the FTC Act and engaged in unsafe and unsound practices relating to improper placement and
                  maintenance of collateral protection insurance policies on auto loan accounts and improper fees
                  associated with interest rate lock extensions. These practices resulted in consumer harm which the OCC
                  has directed the bank to remediate.

                  The $500 million civil money penalty reflects a number of factors, including the bank's failure to develop
                  and implement an effective enterprise risk management program to detect and prevent the unsafe or
                  unsound practices, and the scope and duration of the practices. The OCC penalty will be paid to the U.S.
                  Treasury. The OCC also reserves the right to take additional supervisory action, including imposing
                  business restrictions and making changes to executive officers or members of the bank's board of
                  directors.

                  The order also modifies restrictions placed on the bank in November 2016 relating to the approval of
                  severance payments to employees and the appointment of senior executive officers or board members.
                  The original restrictions related to severance payments applied to all employees, which unnecessarily
                  delayed severance payments to employees who were not responsible for the bank's deficiencies or
                  violations. This order maintains restrictions on the approval of severance payments to senior and
                  executive officers and the appointment of senior executive officers or board members.

                  Related Links
                      • Consent Order for the Assessment of a Civil Money Penalty (PDF)
                      • Cease and Desist Order(PDF)
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                         Source:
                         hops://occ.treas.gov/news-issuances/news-releases/2018/nr-occ-2018-41.html#

           P.10
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